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                                   4                                UNITED STATES DISTRICT COURT
                                   5                           NORTHERN DISTRICT OF CALIFORNIA
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                                   7     A.R. HITLER,                                    Case No. 19-cv-06677-WHO (PR)
                                         aka CARL A. RENOWITZKY,
                                   8                   Plaintiff,                        ORDER OF DISMISSAL
                                   9             v.
                                  10
                                         UNITED STATES (NATIONS) OF
                                  11     AMERICA,

                                  12
                                                       Defendant.
Northern District of California
 United States District Court




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                                              Plaintiff filed a “Petition Notice of Everlasting Peace.” Because such a document
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                                       cannot initiate a legal action, the Court sent a Clerk’s Notice advising him to file a
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                                       complaint on the proper form (and an application to proceed in forma pauperis) by
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                                       November 25, 2019. Plaintiff has failed to comply with the Clerk’s Notice. Accordingly,
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                                       the action is DISMISSED (without prejudice) for failing to comply with the Clerk’s Notice
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                                       and for failing to prosecute, see Federal Rule of Civil Procedure 41(b).
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                                              Because this dismissal is without prejudice, plaintiff may move to reopen. Any
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                                       such motion must contain (i) a complaint on this Court’s form; and (ii) a complete
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                                       application to proceed in forma pauperis (or full payment for the $400.00 filing fee).
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                                              The Clerk shall enter judgment in favor of defendant and close the file.
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                                              IT IS SO ORDERED.
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                                          Dated: December 9, 2019
                                  25                                                     _________________________
                                  26                                                     WILLIAM H. ORRICK
                                                                                         United States District Judge
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